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                                      UNITED STATES DISTRICT COURT
                                    DISTRICT OF MONTANA GREAT FALLS DIVISION

 UNITED STATES OF AMERICA                                                       JUDGMENT IN A CRIMINAL CASE

 v.
                                                                                Case Number: CR 21-10-GF-BMM-1
 ANDREW DONOVAN CARTER                                                          USM Number: 33781-509
                                                                                R. Hank Branom
                                                                                Defendant’s Attorney


THE DEFENDANT:
 ☒ pleaded guilty to count(s)                                1 of the Indictment
       pleaded nolo contendere to count(s) which was
 ☐     accepted by the court
       was found guilty on count(s) after a plea of not
 ☐     guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                   Offense Ended        Count

 18 U.S.C. § 2251(a) Sexual Exploitation Of A Child                                                    08/31/2020           1




The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Count(s) 2, 3 and 4 ☐ is ☒ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                  December 2, 2021
                                                                  Date of Imposition of Judgment




                                                                  Signature of Judge

                                                                  Brian Morris, Chief Judge
                                                                  United States District Court
                                                                  Name and Title of Judge

                                                                  December 2, 2021
                                                                  Date
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DEFENDANT:                 ANDREW DONOVAN CARTER
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                                                     IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

300 months.

 ☒ The court makes the following recommendations to the Bureau of Prisons:
        (1) Defendant shall participate in the Bureau of Prisons’ sex offender treatment program.
        (2) Defendant shall be placed at the Bureau of Prisons’ facility in Seagoville, Texas.


 ☒ The defendant is remanded to the custody of the United States Marshal.

 ☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                      ☐    a.m.          ☐   p.m.     on

          ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ before 2 p.m. on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                            RETURN
I have executed this judgment as follows:


        Defendant delivered on                                    to


at                                      , with a certified copy of this judgment.




                                                                       UNITED STATES MARSHAL

                                                                       By: ________________________________________________
                                                                       DEPUTY UNITED STATES MARSHAL
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                                                SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : 20 years.

                                            MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   ☐    You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution. (check if applicable)
 5.   ☒    You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6.   ☒ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
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                               STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at https://www.mtp.uscourts.gov/post-conviction-supervision.


 Defendant’s Signature                                                                             Date
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                                 SPECIAL CONDITIONS OF SUPERVISION

1.      You must submit your person and any property, residence, vehicle, papers, computers (as defined in 18
        U.S.C. § 1030(e)(1)), or other electronic communications or data storage devices or media to which you
        have access to a search at a reasonable time and in a reasonable manner, with or without a warrant, by the
        probation office, or by any law enforcement officers upon the express direction of the probation office,
        with reasonable suspicion concerning your violation of a condition of supervision or unlawful conduct.
        Failure to submit to search may be grounds for revocation. You must warn any other occupants, adults,
        and minors that the premises may be subject to searches pursuant to this condition. You must allow seizure
        of suspected contraband for further examination.

2.      You must enter and successfully complete a sex offender treatment program as approved by the probation
        office. You are to remain in that program until released by the probation officer in consultation with the
        treatment provider. You must pay part, or all of the costs of this treatment as directed by the probation
        office.

3.      You must submit to not more than six polygraph examinations per year as directed by the probation officer
        to assist in treatment, planning, and case monitoring. You maintain your Fifth Amendment rights during
        polygraph examinations and may refuse to answer any incriminating questions. You must pay part, or all
        of the costs of these examinations as directed by the probation office.

4.      Unless you receive prior written approval from the probation officer, you must not knowingly reside in
        the home, residence, or be in the company of any child under the age of 18 or go to or loiter within 100
        yards of school yards, parks, playgrounds, arcades, or other places primarily used by children under the
        age of 18.

5.      You must have no contact with the victims in the instant offense.

6.      You may own or possess only one device that has access to online services as approved by the probation
        office. If that device is not a phone, you may also possess one mobile phone that has no online capability
        or camera. You must obtain the approval of the probation officer prior to using any device. You must not
        own, possess, or use any additional devices, whether or not the device has access to online services,
        without the prior written approval of the probation office. You shall not own, possess, or use more than
        one data storage device or media, without the prior written approval of the probation office. Your approved
        devices must be capable of being monitored and compatible with monitoring hardware, software, or other
        technology approved by the probation office. You must allow the probation office to make unannounced
        examinations of all devices, hardware, software, which may include the retrieval and copying of all data
        from your computer, phone, tablet, or data storage device or media. You must allow the probation office
        to install software to restrict or monitor your devices access. You must pay part or all of the cost of
        monitoring, as directed by the probation office. You must not use any computer, phone, tablet, data storage
        device or media, to access sexually explicit materials as defined in these conditions nor to contact minors
        or gather information about a minor. You must not possess encryption or steganography software. You
        must provide records of all passwords, internet service, and user identifications (both past and present) to
        the probation office and immediately report changes. Immediately means within 6 hours. You must sign
        releases to allow the probation officer to access phone, wireless, internet, and utility records.
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7.      You must not possess camera phones or electronic devices that could be used for covert photography
        without the prior written approval of the probation office.

8.      You must not access the internet except for reasons approved in advance by the probation office.

9.      All employment must be approved in advance in writing by the probation office. You must consent to
        third-party disclosure to any employer or potential employer.

10.     You must apply all monies received from income tax refunds, lottery winnings, judgments, and/or any
        other financial gains to outstanding Court-ordered financial obligations.

11.     You must pay restitution in the amount to be determined by the Court. You are to make payments as
        otherwise directed by United States Probation.

12.     You must not knowingly acquire, possess, or view any materials depicting sexually explicit conduct as
        defined in 18 U.S.C. § 2256(2)(A) if the materials, taken as a whole, are primarily designed to arouse
        sexual desire, unless otherwise approved by the probation office in conjunction with your sex offender
        treatment provider. This condition applies to written stories, visual, auditory, telephonic, or electronic
        media, computer programs or services, and any visual depiction as defined in 18 U.S.C. § 2256(5). You
        must not knowingly patronize any place where sexually explicit material or entertainment is the primary
        item of sale, such as adult bookstores, clubs, or internet sites, unless otherwise approved by the probation
        office in conjunction with your sex offender treatment provider. You must not utilize 900 or adult
        telephone numbers or any other sex-related numbers, or online chat rooms that are devoted to the
        discussion or exchange of sexually explicit materials as defined above.

13.     You must abstain from the consumption of alcohol and are prohibited from entering establishments where
        alcohol is the primary item of sale.

14.     You must not purchase, possess, use, distribute or administer marijuana, including marijuana that is used
        for recreational or medicinal purposes under state law.

15.     You must not possess, ingest, or inhale any psychoactive substances that are not manufactured for human
        consumption for the purpose of altering your mental or physical state. Psychoactive substances include,
        but are not limited to, synthetic marijuana, kratom and/or synthetic stimulants such as bath salts and Spice.

16.     You must pay restitution in the amount of $6,000. You are to make payments at a rate of $500 per month,
        or as otherwise directed by United States Probation. Payment shall be made to the Clerk, United States
        District Court, Missouri River Courthouse, 125 Central Avenue West, Suite 110, Great Falls, MT 59404
        and shall be disbursed to victims as listed on page 7 of this judgment.
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                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments.
                               Assessment                 JVTA               AVAA                 Fine                               Restitution
                                                  Assessment**        Assessment*
 TOTALS                             $100.00            WAIVED             WAIVED             WAIVED                                    $6,000.00

           ☐               The determination of restitution is deferred until  An Amended Judgment in a Criminal Case
                           (AO245C) will be entered after such determination.
                         The defendant must make restitution (including community restitution) to the following payees in the
                          amount listed below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.

         Restitution of $6,000.00 to:

         "JENNY" C/O KATIE M. SHIPP, MARSH LAW FIRM                           $3,000.00

         "PIA" C/O DEBORAH BIANCO, ATTORNEY AT LAW                            $3,000.00



 ☐ Restitution amount ordered pursuant to plea agreement $
 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☒     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ☒ the interest requirement is waived for the          ☐ fine                            ☒ restitution
       ☐ the interest requirement for the                       ☐ fine                                ☐ restitution is modified as follows:
*Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
**Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ☐ Lump sum payments of $                                            due immediately, balance due

        ☐ not later than                                        , or

        ☐ in accordance with               ☐      C,          ☐        D,        ☐      E, or        ☐      F below; or

 B      ☐ Payment to begin immediately (may be combined with                     ☐      C,           ☐      D, or              ☐       F below); or

 C      ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                                   (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment;
              or

 D      ☐ Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                                  over a period of
                                (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or

 E      ☐ Payment during the term of supervised release will commence within                       (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
              time; or

 F      ☒ Special instructions regarding the payment of criminal monetary penalties:
              Special assessment shall be immediately due and payable. While incarcerated, criminal monetary penalty
              payments are due during imprisonment at the rate of not less than $25 per quarter, and payment shall be
              through the Bureau of Prisons’ Inmate Financial Responsibility Program. Criminal monetary payments shall be
              made to the Clerk, United States District Court, Missouri River Courthouse, 125 Central Avenue West, Suite
              110, Great Falls, MT 59404.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  Joint and Several
    See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
    Several Amount, and corresponding payee, if appropriate.

        ☐ Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
        loss that gave rise to defendant's restitution obligation.
 ☐      The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5) fine
principal, (6) fine interest, (7) community restitution, (8) penalties, and (9) costs, including cost of prosecution and court costs.
